

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-1063-13





AARON ZANE SOMERS, Appellant
		

												

v.



THE STATE OF TEXAS, Appellee





ORDER ON MOTION TO EXCEED WORD LIMITS







		Per curiam.


O R D E R 


	Appellant's motion to exceed the word limits required by Tex.R.App.P. 9.4(i)(2)(D)
in his petition for discretionary review is denied to the extent that he requests to exceed the
4,500 word limit. Appellant is granted an extension of time to file an amended petition which
complies with Tex.R.App.P. 9.4(e) and 9.4(i)(2)(D).  The amended petition is due 30 days
from the date of this order.  

IT IS SO ORDERED THIS THE 3rd  DAY OF OCTOBER, 2013.

DO NOT PUBLISH


